Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.425 Page 1 of 19




                    EXHIBIT J
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.426 Page 2 of 19




                                           Terms for Stipulated Sum Construction Job

        These Terms for Stipulated Sum Construction Job (this “Terms”) are entered into by and between THR Property
Management LP, a Delaware limited partnership (“Manager”) and the Contractor set forth on the signature page hereto
(“Contractor” and, together with Manager, the “Parties” and, each, a “Party”). BY SIGNING BELOW OR ACCEPTING A JOB AWARD,
CONTRACTOR AGREES TO BE BOUND BY THESE TERMS, INCLUDING THE WARRANTY, INDEMNITY AND EXCLUSION OF
CONSEQUENTIAL DAMAGES PROVISIONS CONTAINED HEREIN.

                                                            RECITALS

         WHEREAS, Contractor is in the business of providing contracting services, directly or indirectly through Subcontractors,
with respect to residential properties;

       WHEREAS, Manager is in the business of providing property management services with respect to residential properties
and may, from time to time, desire to procure such contracting services from Contractor; and

        WHEREAS, Contractor and Manager desire to establish the terms pursuant to which Manager may engage Contractor
from time to time with respect to such services.

         NOW, THEREFORE, in consideration of the foregoing recitals, the mutual agreements and covenants contained herein and
other good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties hereby agreeas
follows:

                                                          ARTICLE 1
                                                 SCOPE OF TERMS; DEFINITIONS

1.1     Scope of Terms. Manager hereby engages the Contractor to perform certain contracting services, directly or indirectly
        through Subcontractors, as applicable, in each case which may be identified, on a Job-by-Job basis, on one or more Job
        Awards entered into hereunder (such contracting services, whether completed or partially completed, and including all
        labor, materials, equipment and services provided or to be provided by the Contractor to fulfill Contractor’s obligations
        hereunder, the “Work”). If, from time to time, the Job Award is modified by any Change Order, the terms and conditions
        of these Terms shall continue to apply to all such modifications. Contractor acknowledges that until a Job Award is issued
        by Manager, Manager has no obligation to engage Contractor with respect to any Job or Work, nor does Manager
        represent or warrant that Contractor will be engaged for any minimum amount of Work pursuant tothese Terms.

1.2     Definitions:

                 1.2.1    “AAA” shall have the meaning set forth in Section 17.2.

                 1.2.2     “Affiliate” means any Person that, directly or indirectly, controls, is controlled by, or is under common
            control with, either of the Parties. For purposes of this definition, “control” means possession of the power to direct
            the management of a Person, whether through ownership of more than fifty percent (50%) of voting securities, by
            contract or otherwise.

                1.2.3   “Agencies” shall mean all governmental and private agencies having jurisdiction over the Contractor,
            Manager, Work and/or Job.

                 1.2.4     “Applicable Laws” shall mean all applicable common law, statutes, ordinances, permits, rules,
            regulations or orders of any governmental authority applicable to the Job or Work.

                 1.2.5    “CGL” shall have the meaning set forth in Section 13.1.

                                                               -1-
Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.427 Page 3 of 19


           1.2.6    “Change Order” shall have the meaning set forth in ARTICLE 3.

           1.2.7    “Claims” shall have the meaning set forth in ARTICLE 12.

           1.2.8    “Contract Documents” shall have the meaning set forth in Section 2.1.

           1.2.9    “Contract Sum” shall have the total amount payable by Manager with respect to a Job, as identified in
      the applicable Job Award for such Product, and as may be updated from time to time pursuant to a Change Order.

           1.2.10   “Dispute” shall have the meaning set forth in Section 17.1.

           1.2.11   “EPA” shall have the meaning set forth in Section 11.4.

           1.2.12   “Indemnitees” shall have the meaning set forth in ARTICLE 12.

           1.2.13 “Lead Paint Regulations” shall mean the Renovation, Repair and Painting Regulations governing lead-
      based paint (40 CFR §§ 745 et seq.).

           1.2.14 “Job” shall mean the specific Work to be performed at a Property by Contractor or its Subcontractors
      and identified in a Job Award.

           1.2.15 “Job Award” shall mean a document issued with respect to each Job that includes, at a minimum, (1)
      the Contract Sum; (2) the Specifications; and (3) the address of the Property. Manager and Contractor shall enter into
      a separate Job Award for each Job (as defined herein), and multiple Jobs may be performed at the same Property.

           1.2.16   “Lien” shall mean all laborer’s, materialman’s, mechanic’s or other similar liens.

          1.2.17    “Material” or “Materials” shall mean all materials, supplies and equipment used in connection with the
      Work.

            1.2.18 “Person” shall mean an individual, partnership, corporation, business trust, limited liability company,
      limited liability partnership, stock company, trust, unincorporated association, joint venture, company or other entity
      or any governmental joint authority or political subdivision thereof.

          1.2.19 “Property” shall mean the real property and any improvements thereon on which Contractor performs
      Work pursuant to a Job Award.

            1.2.20 “Specifications” shall mean the detailed description of the Job, which such description is set forth in the
      applicable Job Award, as the same may be updated from time to time pursuant to a Change Order.

            1.2.21 “Subcontractors” shall mean a Person, other than the Contractor’s employees, in each casewhich has a
      direct contract with the Contractor to perform a portion of the Work at the Property, as well as any second or third
      tier subcontractors thereof.

           1.2.22   “Substantial Completion” shall have the meaning set forth in Section 5.2.

           1.2.23   “The Workshop” shall have the meaning set forth in Article 3.


           1.2.24 “Exhibit” or “Exhibits” shall mean collectively all the Exhibits or singularly one of the Exhibits attached
      hereto. The following Exhibits are attached hereto and incorporated hereby by this reference.

                    Exhibit A:        Vendor Code of Conduct




                                                          -2-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.428 Page 4 of 19


                                                         ARTICLE 2
                                                    CONTRACT DOCUMENTS

2.1     Contract Documents. The “Contract Documents” consist of, collectively, these Terms, each Job Award and each Change
        Order entered into hereunder. The intent of the Contract Documents is to include all items necessary for the proper
        execution and completion of the Work by the Contractor. Performance by the Contractor shall be required to the extent
        consistent with the Contract Documents and reasonably inferable from them as being necessary to produce the intended
        results.

2.2     Entire Terms; Third-Party Beneficiaries. The Contract Documents represent the entire and integrated agreement
        between the Parties and supersede prior negotiations, representations or agreements, either written or oral. The
        Contract Documents shall not be construed to create a contractual relationship of any kind between Manager and a
        Subcontractor or any other Persons other than Manager and Contractor; provided, however, that certain Affiliates of
        Manager that own an interest in, or are otherwise involved in leasing, maintainingor providing services with respect to,
        any Property shall be deemed third party beneficiaries of these Terms and the other Contract Documents.

2.3     Precedence. Any provision of a Job Award or Change Order that conflicts with a term of these Terms shall supersede such
        conflicting term in these Terms only to the extent that such Job Award or Change Order, as applicable, expressly
        references the conflicting provision of these Terms.



                                                          ARTICLE 3
                                                     CHANGES IN THE WORK

Either Manager or Contractor may request that revisions be made to a Job Award through a change order (a “Change Order”) at
any time during the term of any such Job Award. Any Change Order submitted by Contractor will be submitted through “The
Workshop” platform located at (https://ih.force.com/workshop/s/login/) or any successor URL provided to Contractor from time
to time (“The Workshop”). A Change Order that is submitted by Contractor to The Workshop will be reviewed by Manager and
either accepted, returned for resubmission by Contractor, or rejected. All pricing for Change Orders will be calculated in
accordance with Manager’s standard pricing catalog to the extent applicable. A Change Order will not be deemed approved unless
and until a notice of approval is issued by the non-submitting Party through The Workshop. If a Change Order is not approved, the
Job will proceed in accordance with the original Job Award and any previously approved Change Orders. For clarity, an
acknowledgment of receipt issued by The Workshop is not a notice of approval.

                                                            ARTICLE 4
                                                              TIME

4.1     Time is of the Essence. Contractor acknowledges that time is of the essence in connection with its obligations to provide
        Work under a Job Award. Contractor shall conduct the Work continuously and with reasonable diligence and, if applicable,
        in strict accordance with the Job schedule provided by Manager. To the extent necessary to comply with the Job schedule
        provided by Manager, Contractor agrees to prioritize the Job ahead of other projects and jobs on which Contractor is
        engaged at the same time as the Job by allocating Contractor’s personnel and other resources to the Job. If Manager
        extends a Job schedule, Contractor shall proceed as directed by Manager and cooperate in related work and in no manner
        interfere with the work of Manager or other contractors.

4.2     Force Majeure Delays. If, as a result of fire, earthquake, acts of God, war, terrorism, strikes, picketing, boycott, lockouts,
        labor disturbances, regional epidemics, global pandemics or other health crises, shortages of Material, or other cases or
        conditions beyond the control of Manager, Manager shall consider it inadvisable to proceed with the Work, then
        Contractor shall, upon receipt of notice from Manager, immediately discontinue any Work until such time as Manager
        may deem it advisable to resume the Work. Contractorwill resume the Work within twenty-four (24) hours after receiving
        notice from Manager to do so, and Contractor shall not be entitled to any damages or compensation on account of
        cessation of work as a result of the causes mentioned above.




                                                                -3-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.429 Page 5 of 19


                                                      ARTICLE 5
                                 INSPECTION, REJECTION AND SUBSTANTIAL COMPLETION

5.1   Contractor Inspection. When Contractor believes the Work to be substantially complete, Contractor shall inspect the
      same using a punchlist provided by Contractor with such additions or other changes thereto as Manager may add at
      Manager’s sole discretion and then provide notification of completion to Manager.

5.2   Substantial Completion. Following Contractor’s delivery of the notice of completion, Manager will review and evaluate
      the Work. Within 30 days of Contractor’s delivery of the notice of completion, Manager will provide Contractor with notice
      of acceptance of the Work (“Substantial Completion”) or a punch list of defects to be corrected. In the event that Manager
      provides Contractor with a punch list of defects, Contractor will, as quickly as is practicable and with priority over
      Contractor’s other projects, remediate the Work and make all other changes that are needed in order for the Work to
      meet the Specifications. Manager will then re-inspect the Work and inform Contractor of any remaining defects or
      required remediation. The foregoing process will continue until Manager issues the notice of Substantial Completion in
      accordance with this Section 5.2. For clarity, Manager shall have no obligation to provide Contractor with a notice of
      Substantial Completion unless and until any and all permits required to be issued in connection with the Work have been
      issued by the relevant governmental authorities. If the process set forth in this Section 5.2 causes any material delay in
      Substantial Completion, Manager shall be compensated for any costs, expenses or other losses incurred by it as a result
      of such delay.

                                                          ARTICLE 6
                                                          PAYMENT

6.1   Payment. Payment for a Job, constituting the entire unpaid balance of the Contract Sum, shall be made by Manager to
      the Contractor following Substantial Completion and, if required, final municipal certifications and acceptances as may be
      required under Applicable Laws have been received by Manager. Notwithstanding the foregoing, deposit payments
      and/or progress payments may, in the discretion of Manager, be made prior to completion of a Job; provided, that any
      such deposit payments and/or progress payments shall offset the final payment due upon Substantial Completion. In
      addition, to the extent that a Job is not completed to the satisfaction of Manager, thenContractor shall return any deposit
      payments and/or progress payments that were previously paid to Contractor with respect to such Job in full or in part in
      the reasonable discretion of the Manager.

6.2   Payment Conditions. Notwithstanding any provision herein to the contrary, Manager shall not be obligated to make
      payment to Contractor if and as long as any one or more of the following conditionsexists: (a) Contractor is in default of
      any of its obligations under these Terms, any other Contract Document or any other agreement with Manager (including
      any agreement related to a Work to be performed at a separate Property); (b) any part of such payment is attributable to
      Work which is defective or not performed in accordance withthese Terms; or (c) Contractor has failed to make payments
      promptly to Contractor's Subcontractors or for Material or labor used in the Work for which Manager has made payment
      to Contractor. Payments withheld for any of the foregoing reasons shall be released as soon as reasonably possible
      following elimination or removal of the grounds for non-payment.

6.3   Waiver and Release of Liens. In addition to the conditions set forth in Section 6.2, payment to Contractor shall not
      become due until the Contractor has delivered to Manager (a) a completewaiver and/or release of all Liens arising out of
      the Contract Documents or receipts in full covering all labor and Materials for which a Lien could be filed or (b) a bond
      satisfactory to Manager to indemnify Manager, against any such Liens. If any such Lien remains unsatisfied afterpayment
      is made, the Contractor shall refund to Manager all money that Manager may be compelled to pay in discharging such
      Liens, including all costs and reasonable attorneys’ fees.


                                                      ARTICLE 7
                                          MANAGER’S RIGHTS AND OBLIGATIONS

7.1   Manager Remedies. If the Contractor fails to correct Work which is not in accordance with the requirements of the
      Contract Documents (including the Specifications) or consistently fails to carry out the Work in accordance with the
      Contract Documents (including the Specifications), Manager may, in its sole discretion, exercise any of the following rights:


                                                              -4-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.430 Page 6 of 19


              7.1.1    order the Contractor to stop the Work, or any portion thereof, until the cause for such order has been
          eliminated or corrected, provided, however, that the right of Manager to stop the Work shall not give rise to a duty
          on the part of Manager to exercise this right for the benefit of Contractor or any otherPerson; and/or

               7.1.2    if the Contractor defaults or persistently fails or neglects to carry out the Work in accordance with the
          Contract Documents, or fails to perform a provision of the Contract Documents, then Manager, after three (3) days’
          written notice to Contractor, and without prejudice to any other remedy Manager may have, may, on its own behalf
          or through the use of other third-party service providers, cure such deficiencies and may deduct the reasonable cost
          thereof, including Manager’s expenses and compensation for the services made necessary thereby, from theContract
          Sum.

7.2   Manager Oversight and Responsibility. In no event shall Manager have control over, charge of, or any responsibility for
      construction means, methods, techniques, sequences, or procedures or for safety precautions and programs in
      connection with the Work, notwithstanding any of the rights and authority granted Manager in these Terms.

                                                      ARTICLE 8
                                               CONTRACTOR’S OBLIGATIONS

8.1   Performance Obligations. The Contractor shall supervise and direct the Work using the Contractor’s best skill and
      attention, which such skill and attention shall be no less than the amount of skill and attention commonly exercised in the
      industry in which Contractor operates. The Contractor shall be solely responsible for and have control overthe Work and
      for coordinating all portions of the Work under the Contract, unless the Contract Documents give other specific
      instructions concerning these matters. Without limiting the generality of the foregoing, Contractor agrees to the following
      obligations with respect to the Work:

               8.1.1   Contractor agrees to employ only Persons possessing all licenses required under Applicable Laws (as
          confirmed by Contractor or its designated representative or service provider through documentary evidence) and
          suitable experience and training for the completion of the Work outlined in a Job Award and further ensures that a
          competent party will be in control of the Property and Work at all times that Work is in progress;

               8.1.2   In connection with the Work, Contractor will strictly adhere to and enforce (i) all Applicable Laws related
          to labor and safety; (ii) industry standard safety protocols and (iii) the Vendor Code of Conduct attached hereto as
          Exhibit A;

              8.1.3     Contractor will obtain all necessary permits and arrange for all necessary inspections the Work may
          require in accordance with Applicable Laws.

               8.1.4    Obtaining permits, conducting tests and inspections, and obtaining approvals of portions of the Work
          required by the Contract Documents or by Applicable Laws shall be made at an appropriate time. Unless otherwise
          provided, Contractor shall make arrangements for such permits, tests, inspections and approvals with the appropriate
          public authority, or with an independent testing laboratory or entity acceptable to Manager, and shall bear all related
          costs of permits, tests, inspections and approvals. Contractor shall give Manager timely notice of when and where
          tests and inspections are to be made so that Manager may be present for such procedures. Manager shall bear costs
          of tests, inspections and approvals which do not become requirements until after bids are received or negotiations
          concluded. The results of all tests, inspections and approvals are the sole property of Manager and shall constitute
          Manager Confidential Information, subject to the provisions of ARTICLE 15 hereof.

               8.1.5    Contractor will perform the Work at the Property in a good and workmanlike manner as is suitable for
          residential occupancy and, without limiting the generality of the foregoing, (i) will perform the Work in such a manner
          as to ensure the Property is habitable upon completion; (ii) will perform the Work in a skillful way and (iii) to the
          extent Contractor is overseeing any Subcontractors, will diligently supervise such Subcontractors and regularly
          inspect the work being performed by such Subcontractors;

              8.1.6    Contractor will conduct operations in such a manner as to cause no hazard to exist;



                                                             -5-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.431 Page 7 of 19


              8.1.7    Contractor shall at all times continuously maintain adequate protection of all work in progress and the
          Property from all types of damage, including damage that may be caused by fire, flooding, wind and other acts of
          nature as well as theft or trespass by unauthorized Persons;

              8.1.8   Contractor shall insure that the general public and all Persons affected by a Job are treated in a
          courteous manner by Contractor’s employees and Subcontractors;

              8.1.9    Contractor shall confine operations at the Property to areas permitted by Applicable Laws, permits and
          the Contract Documents and shall not unreasonably encumber the Property with Materials; and

              8.1.10 Contractor will, on a daily basis, clean up its work areas and keep the Property in a safe and sanitary
          condition and, on a regular basis, will remove all debris from the Property. Without limiting the generality of the
          foregoing, Contractor acknowledges and agrees (i) to maintain adequate and reasonable dust control and traffic
          control and to coordinate as necessary with municipal, utility and private inspectors and (ii) to keep the Property and
          surrounding area free from accumulation of waste materials or rubbish caused by Contractor’s operations; and (iii)
          upon completion of the Work, to remove from and about the Property all waste materials, rubbish, the Contractor’s
          tools, construction equipment, machinery and surplus Materials and return the Property to its original condition.

8.2   Responsibility for Employees and Subcontractors. The Contractor shall be solely responsible to Manager for acts and
      omissions of the Contractor’s employees, Subcontractors and their agents and employees, and other Persons performing
      portions of the Work for or on behalf of the Contractor or any of its Subcontractors. Notwithstanding the foregoing, the
      Contractor shall provide Manager and its designees with access to the Work in progress wherever located.

8.3   Payment Obligations. Unless otherwise provided in the Contract Documents, the Contractor shall be solely responsible
      for paying for all labor, Materials, tools, permits (unless Manager agrees in writing to obtain the permits), construction
      equipment and machinery, transportation and other facilities and services necessary for the proper execution and
      completion of the Work, whether temporary or permanent and whether or not incorporated or to be incorporated in the
      Work, and Contractor agrees to timely pay for all such costs and expenses. Manager shall not be required to furnish any
      labor or Materials of any sort unless specifically set forth elsewhere in these Terms.

8.4   Taxes. Unless otherwise provided in the Contract Documents, the Contractor shall pay sales, consumer, use and other
      similar taxes which are legally required to be paid in connection with its procurement of labor andMaterials necessary to
      provide Work and shall, at Manager’s request, furnish Manager with an accounting of all such sales, use and other taxes
      paid in connection with providing the Work.

8.5   Notices and Legal Compliance. The Contractor shall comply with and give notices required by Applicable Laws bearing
      on performance of the Work. The Contractor shall be required to file all applicable notices of commencement and
      completion as may be required under Applicable Laws. The Contractor shall promptly notify the Manager in writing if the
      Specifications are observed by the Contractor to be at variance with such Applicable Laws. If the Contractor performs
      Work knowing it to be contrary to Applicable Laws without such notice to the Manager, including not obtaining any
      necessary permits, the Contractor shall assume appropriate responsibility for such Work and shall bear costs attributable
      to correction.

8.6   Audit. Contractor shall maintain adequate records and accounts, together with supporting documents, evidencing all
      business matters with respect to these Terms including any permits or inspections required by Applicable Law or the
      Contract Documents. All such records and accounts shall be preserved by Contractor for at least three (3) years from the
      date of the transaction to which they relate. Contractor agrees that the records and documents referred to herein shall
      be available for audit, inspection and copy byManager upon reasonable prior notice during Contractor’s regular business
      hours.

8.7   Contractor Qualification. In connection with its execution of these Terms and prior to Contractor commencing Work on
      any Job, Contractor shall provide all such information and materials as may be requested by Manager’s third-party vendor
      credentialing partner (the “Credentialing Partner”). In addition, Contractor agrees to pay an annual fee as may be
      assessed by such Credentialing Partner. Without limiting the foregoing, Contractor shall:

              8.7.1    Provide copies of all licenses required under Applicable Law;

                                                             -6-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.432 Page 8 of 19


                 8.7.2     Require its business principals to submit to, and clear, a national criminal and sex offender background
             check;

                  8.7.3    Agree in writing to comply with the Vendor Code of Conduct attached hereto as Exhibit A;

                  8.7.4    Complete and submit a Form W-9;

                 8.7.5     Provide certificates of required insurance policies to the Credentialing Partner in accordance with
             Section 13.2; and

                   8.7.6   Submit to, and clear, a government watch list review (OFAC, money laundering, FBI and terrorist watch
             lists).

                                                           ARTICLE 9
                                                          WARRANTIES

The Contractor warrants to Manager that (i) Materials furnished under the Contract Documents will be of good quality and new
unless otherwise required or permitted by the Contract Documents; (ii) that the Work will be performed in a good and workmanlike
manner and in compliance with all requirements of Manager, all Agencies, the craft unions involved (if any), and the Contract
Documents; (iii) the Work will be free from defects; (iv) the Work will conform with the requirements of the Contract Documents
(including the Specifications); and (v) Contractor will obtain any and all permits and will have the Work inspected by qualified
personnel as required by Applicable Laws. Work not conforming to these requirements, including substitutions not properly
approved and authorized, may, in the sole discretion of Manager, be deemed defective. All defective Work shall be promptly
replaced of repaired by Contractor at its sole cost and expense for a period of twelve (12) months from the date of Substantial
Completion of the Work unless a longer period of time is required byApplicable Laws or specified in a Job Award. If required by
Manager, the Contractor shall furnish satisfactory evidence as to the kind and quality of Materials. Nothing contained herein shall
be deemed to limit or otherwise waive any statutory warranty rights inuring to the benefit of Manager, and the foregoing express
warranty is in addition to any implied warranties under Applicable Laws.


                                                          ARTICLE 10
                                                       SUBCONTRACTORS

10.1    Identification of Subcontractors. Unless otherwise stated in the Contract Documents, the Contractor,upon request from
        the Manager, shall furnish in writing to the Manager the names of the Subcontractors engaged by Contractor to provide
        Work. With respect to the Job or any other services to be performed for Manager, Contractor shall not contract or
        continue to contract, as the case may be, with any Subcontractor to whom the Manager has objected.

10.2    Responsibility for Subcontractors. Contracts between the Contractor and Subcontractors shall require each
        Subcontractor, to the extent of the Work to be performed by such Subcontractor, to be bound to the Contractorunder
        terms that are equivalent to those set forth in the Contract Documents, and to assume toward the Contractor all the
        obligations and responsibilities, including the responsibility for safety of the Subcontractor’s Work, which the Contractor,
        by the Contract Documents, assumes toward the Manager. The Contractor shall be jointly and severally liable to Manager
        for all acts and omissions of any Subcontractor to the same extent as if such acts and omissions were attributable to
        Contractor.

10.3    Payment of Subcontractors. The Contractor shall promptly pay each Subcontractor, upon receipt of payment from the
        Manager, out of the amount paid to the Contractor on account of such Subcontractor’s portion of the Work, the amount
        to which said Subcontractor is entitled. The Contractor shall, by appropriate agreement with each Subcontractor, require
        each Subcontractor to make payments to sub-subcontractors in similar manner.

10.4    Outstanding Payments to Subcontractors. The Contractor, within 24 hours of Manager’s written request, shall supply
        Manager with a list of outstanding payments owed to Subcontractors that are at least 30 days past due. The list shall
        include each Subcontractor’s name, address, phone number, and the associated amount past due. The Manager reserves
        the right to pay such Subcontractors directly and make a corresponding reduction to any amounts otherwise payable to
        Contractor (including amounts payable on other Jobs and at other Properties).

                                                                -7-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.433 Page 9 of 19



                                                      ARTICLE 11
                                          PROTECTION OF PERSONS AND PROPERTY

11.1   Safety Precautions. The Contractor shall be responsible for initiating, maintaining, and supervising all safety precautions
       and programs in connection with the performance of these Terms. The Contractor shall take all necessary precautions
       for safety of, and shall provide reasonable protection to prevent damage, injury or loss to: (1) employees, Subcontractors
       and other service providers doing the Work and other Persons who may be affected thereby; (2) the Work and Materials
       to be incorporated therein; and (3) the Property or any real property or improvements adjacent thereto. The Contractor
       shall give notices and comply with Applicable Laws bearing on safety of Persons and property and their protection from
       damage, injury or loss. The Contractor shall promptly remedy damage and loss to property caused in whole or in part by
       the Contractor, a Subcontractor, a sub-subcontractor, or anyone directly or indirectly employed by any of them, or by
       anyone for whose acts they may be liable and for which the Contractor is responsible. The foregoing obligations of the
       Contractor are in addition to the Contractor’s indemnification obligations.

11.2   Asbestos; PCB. Contractor must notify Manager immediately in writing of any suspected or potential asbestos containing
       materials (“ACM”) at the Property. If the Property contains ACM, Contractor must take all necessary precautions to avoid
       disturbance or damage to suspected or potential ACM. Contractor shall not be required to perform any Work relating to
       ACM or polychlorinated biphenyl (PCB) without Contractor’s consent; provided, however, that for all Work that is likely to
       disturb ACM or PCB-containing materials, the Contractor shall, if it is not qualified to perform such Work and in
       consultation with the Manager, engage a Subcontractor having the experience and qualifications required byApplicable
       Laws to perform such Work (or to consult withContractor in Contractor’s performance of such Work) to ensure that such
       Work is completed in a safe, appropriate and lawful manner. To the fullest extent permitted under Applicable Law,
       Manager shall have no liability to Contractor for any bodily injury or other losses caused by Contractor’s performance of
       Work relating to asbestos or PCB.

11.3   Mold/Mildew. Contractor shall promptly report to the Manager any observed evidence of mold, mildew or other
       moisture intrusion at the Property. If Manager requests mold, mildew or moisture remediation by Contractor, Contractor
       shall remediate such affected portions of the Property pursuant to and consistent with all Applicable Laws, Manager
       direction and policies, and industry-standard best practices. Contractor shall not remediate any mold, mildew or moisture
       intrusion except with the prior written consent of Manager (including through an executed Job Award or Change Order).

11.4   Lead Paint. To the extent the Work will require Contractor to interface with any painted surfaces, Contractor will notify
       Manager if Contractor otherwise has reason to believe that the Property contains lead-based paint. If Contractor is not
       certified by the United States Environmental Protection Agency (“EPA”) under the Lead Paint Regulations, another service
       provider may be assigned to perform the Work or portions thereof that require interfacing with painted surfaces
       containing lead paint. If Contractor is certified by the EPA under the Lead Paint Regulations, Contractor shall, upon
       Manager’s request, provide Manager with a true and correct copy of its valid certification issued pursuant to the Lead
       Paint Regulations and shall perform all portions of the Work subject to the Lead Paint Regulations in compliance
       therewith.

                                                     ARTICLE 12
                                  INDEMNITY; EXCLUSION OF CONSEQUENTIAL DAMAGES

12.1   Indemnification. Contractor, at Contractor’s sole expense, will defend Manager, its Affiliates and its and their respective
       directors, officers, employees, contractors, and agents (collectively, “Indemnitees”) from and against any and all actual or
       threatened suits, actions, proceedings (at law or in equity), and claims (groundless or otherwise) (“Claims”), and indemnify
       and hold the Indemnitees harmless from and against any and all damages, payments, deficiencies, fines, judgments,
       settlements, liabilities, losses, costs and expenses (including, but not limited to, reasonable attorneys’ fees, expert
       witnesses’ costs and fees, costs, penalties, interest and disbursements), in each case arising out of or resulting from (i)
       Contractor’s or any Subcontractor’s negligence or misconduct; (ii) Contractor’s or any Subcontractor’s performance of
       Work hereunder including, without limitation, Contractor’s or any Subcontractor’s failure to obtain any permit or conduct
       any inspection required by Applicable Laws; (iii) Contractor’s or any Subcontractor’s failure to comply with any obligations
       contained in these Terms; (iv) infringement, misappropriation or other violation of any intellectual property rights related
       to the Work or Manager’s use thereof; or (v) any Claims related to employment, workers’ compensation or recovery for
       on-the-job-injuries suffered by any employee of Contractor or any Subcontractor, including any such Claims alleging that

                                                              -8-
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.434 Page 10 of 19


       an employee or Subcontractor of Contractor is eligible to participate in any benefit plans of Manager or itsAffiliates.
       Manager shall have the right, but not obligation, to control the defense of any Claim at Contractor’s sole expense.
       Manager shall also have the right to allow Contractor to control the defense of any Claim with supervisory authority
       remaining vested in Manager. In no event shall Contractor consent to any entry of judgment or enter into any settlement
       agreement that does not include a full release of Manager and any other Indemnitees. In addition, Contractor shall not
       consent to any entry of judgment that would result in injunctive relief, financial liability or the admission of liability by
       Manager or any Indemnitee without first obtaining Manager’ prior written consent.

12.2   Exclusion of Consequential Damages. IN NO EVENT SHALL MANAGER OR ITS AFFILIATES BE LIABLE FOR ANY
       CONSEQUENTIAL, INDIRECT, SPECIAL, EXEMPLARY OR PUNITIVE DAMAGES (INCLUDING DAMAGES FOR LOSS OF
       BUSINESS, LOST PROFITS AND THE LIKE) ARISING OUT OF OR RELATED TO THIS AGREEMENT. THE FOREGOING
       LIMITATIONS ON DAMAGES APPLY WHETHER BASED ON CONTRACT, WARRANTY, INDEMNIFICATION, TORT (INCLUDING
       NEGLIGENCE), STATUTE OR ANY OTHER LEGAL THEORY OR CAUSE OF ACTION RELATING TO THIS AGREEMENT, EVEN IF
       MANAGER HAS BEEN INFORMED OR SHOULD HAVE KNOWN OF THE POSSIBILITY OF SUCH DAMAGES

                                                           ARTICLE 13
                                                          INSURANCE

13.1   Required Coverage. Contractor, at its own expense, shall procure and maintain in full force and in effect, without
       interruption, from the date of commencement of the Work until the date that is one (1) year following Substantial
       Completion, the following minimum limits of insurance and coverages, provided that where Applicable Laws require any
       coverages not so stated or in excess of the minimum limits provided below, the requirements herein shall be deemed
       adjusted to reflected same. The insurance policies must include the following wording for purposes of additional insured
       status on both a primary and noncontributory basis: “Invitation Homes Inc., THR Property Management L.P. and the
       ownership entity(s) of their owned or managed properties.”

       Insurance requirements:

                     i. Statutory Worker’s Compensation Insurance (at such minimum limits required under Applicable Laws),
                        and Employers’ Liability Insurance with limits of at least $500,000 per accident and per disease for
                        employee and policy limit. This coverage shall include a Waiver of Subrogation Endorsement waiving
                        the carrier’s right of subrogation against Manager.

                     ii. Commercial General Liability (“CGL”) insurance with an “occurrence” trigger (claims-made insurance is
                         not acceptable) that is at least as broad as Insurance Services Office Form CG 00 01, including products
                         and completed operations, with limits of no less than $1,000,000 per occurrence for bodily injury,
                         personal injury, and property damage. If a general aggregate limit applies, either the general aggregate
                         limit shall apply separately to this project/location or the general aggregate limit shall be twice the
                         required occurrence limit. Contractor hereby agrees to waive rights of subrogation which any insurer
                         of Contractor may acquire from Contractor by virtue of the payment of any loss. Contractor agrees to
                         obtain any endorsement that may be necessary to affect this waiver of subrogation.

                    iii. Commercial Automobile Liability Insurance on a form that is at least as broad as Insurance Services
                         Office Form Number CA 0001 covering Code 1 (any auto), with minimum limits of $1,000,000 Combined
                         Single Limit (CSL) or Bodily injury per person, Bodily injury per accident, and Property Damage per
                         accident.

13.2   Certificates. Prior to commencement of the Work, Contractor shall deliver tothe Credentialing Partner, without expense
       to Manager, certificates from Contractor’s insurance companies or broker which shall certify the following:

                     i. That each said policy is then in full force, in effect, and the expiration date and limits thereof;

                     ii. That each said policy shall not be canceled, non-renewed, or materially changed without sixty (60) days
                         prior written notice to the Credentialing Partner;



                                                               -9-
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.435 Page 11 of 19


                      iii. The Manager, its officers, officials, employees, agents, representatives, and volunteers are to be
                           covered as additional insureds on the general and automobile liability policies with respect to liability
                           arising out of with respect to liability arising out of work or operations performed by or on behalf of the
                           Contractor including Materials furnished in connection with such work or operations and automobiles
                           owned, leased, hired, or borrowed by or on behalf of the Contractor. General liability coverage can be
                           provided in the form of an endorsement to the Contractor’s insurance (at least as broad as ISO Form CG
                           20 10, 11 85 or both CG 20 10 and CG 23 37 forms if later revisions used).

13.3     Insurance Mechanics. Manager may have, or may procure for its own accounts insurance (including self-insurance)
         without notice to Contractor’s insurers and without prejudice to the coverage afforded to Manager under Contractor’s
         insurance policies. Insurance procured by Manager shall not be called upon for contribution by the insurance afforded to
         Manager under Contractor’s insurance policies. All insurance required to be provided by Contractor pursuant hereto shall
         be primary, and non-contributory with respect to any coverage that Manager may have and maintain. All such policies
         shall provide for waiver of subrogation against Manager and all additional insureds. Contractor will contact the
         Credentialing Partner for a sample certificate of insurance.

                                                         ARTICLE 14
                                                TERMINATION OF THE CONTRACT

14.1     Termination for Breach. Manager may terminate these Terms or any individual Job Award if the Contractor (1)
         persistently fails or neglects to carry out the Work in accordance with the Contract Documents, (2) otherwise fails to
         perform a provision of the Contract, (3) persistently or repeatedly refuses or fails to supply sufficient properly skilled
         workers or property materials, (4) fails to make payment to Subcontractors for Materials or labor in accordance with the
         respective agreements between Contractor and Subcontractors, or (5) persistently disregards Applicable Laws. In such
         event, Manager may, after seven (7) days’ prior written notice to the Contractor and without prejudice to any other
         remedy Manager may have, terminate these Terms or individual Job Award and take possession of the Property and of
         all Materials thereon owned by the Contractor and may finish the Work by whatever reasonable method Manager may
         deem expedient. If the unpaid balance of the Contract Sum exceeds the cost of finishing the Work, including
         compensation for any engineer’s or others’ services and expenses made necessary thereby, such excess shall be paid to
         the Contractor subject to Contractor’s delivery of Lien waivers and other deliverables as required pursuant tothese Terms,
         but if such costs exceed such unpaid balance, the Contractor shall pay the difference to Manager.

14.2     Termination for Convenience. Manager may terminate these Terms or any Job Award for convenience upon ten (10)
         days prior written notice to Contractor. Upon any such termination Contractor shall cease further Work, completing any
         such elements thereof as Manager may direct and Manager shall, subject to Contractor’s delivery of Lien waivers and
         other deliverables as required pursuant to these Terms, pay Contractor for all Work properly performed through the
         effective date of such termination, together with reasonable, documented third party expenses incurred by Contractor as
         a result of such termination. Except as expressly set forth in this Section 14.2, Contractor shall not be entitled to any
         additional payment on account of any such termination and expressly waives all claims for anticipated profit, lost
         opportunity, or any other consequential damages.


                                                          ARTICLE 15
                                                        CONFIDENTIALITY

The Parties agree not to disclose the terms of these Terms to anyone, other than their representatives who have a need to know
such terms for purposes of fulfilling such Party’s obligations or exercising such Party’s rights under these Terms, their attorneys,
auditors, bankers, actual or potential acquirers or sources of capital, and, with respect to Manager, to the Participants (each of
which shall be obligated to honor the restrictions on disclosure and use of such confidential information set forth in these Terms),
without consulting the other Party in advance, except as may be necessary under Applicable Law. In addition, Contractor shall not
disclose any confidential or proprietary information of Manager, including any information regarding Manager’s business plans
and strategy and pricing information (“Manager Confidential Information”) to any third parties, other than its representatives who
have a need to know such information for purposes of performing Work pursuant to these Terms and shall not use any such
Manager Confidential Information for any purpose other than as necessary to perform Work pursuant tothese Terms. All Manager
Confidential Information shall, as between the Parties, remain the sole and exclusive property of Manager, and no license to use
such Manager Confidential Information is granted to Contractor.

                                                               -10-
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.436 Page 12 of 19


                                                            ARTICLE 16
                                                             NOTICES

Notices and other communications hereunder will be in writing and will be deemed given if delivered personally, sent by e-mail
with confirmation of receipt from the intended recipient, mailed by registered or certified mail (return receipt requested) or sent
by overnight courier. Any such notices shall be sent (i) if to Manager, to the address set forth in this ARTICLE 1616 and (ii) if to
Contractor, to the address set forth on the signature page hereto. The foregoing addresses may be changed at any time by notice
given as provided above; provided, however, that any such notice of change of address will be effective only upon receipt. In
addition, Contractor shall at all times maintain up to date contact information with the Credentialing Partner. All notices, requests
or instructions given in accordance herewith will be deemed given (a) on the date of delivery, if hand delivered, (b) on the date of
receipt, if sent by e-mail prior to 5:00 p.m. Central Time on a business day, otherwise on the next business day following such date
of receipt, (c) three business days after the date of mailing, if mailed by registered or certified mail, return receipt requested, and
(d) one business day after the date of sending, if sent by Federal Express or other recognized overnight courier.

         Manager Notice:

         [●]      Invitation Homes
                  1717 Main Street, Suite 2000
                  Dallas, TX 75201


                                                            ARTICLE 17
                                                       DISPUTE RESOLUTION

17.1     Informal Dispute Resolution. The Parties will attempt in good faith to resolve through negotiation any dispute, claim or
         controversy arising out of or relating to the Contract Documents or actual or alleged breach hereof (a “Dispute”). Either
         Party may initiate negotiations by providing written notice in letter form to the otherParty, setting forth the subject of
         the Dispute and the relief requested. The recipient of such notice will respond in writing within seven (7) business days
         with a statement of its position on and recommended solution to the Dispute. If the Dispute is not resolved by this
         exchange of correspondence, then representatives of each Party with full settlement authority will meet at a mutually
         agreeable time and place within fifteen (15) business days of the date of the initial notice in order to exchange relevant
         information and perspectives, and to attempt to resolve the Dispute. Neither Party shall be required to submit to the
         process set forth in this Section 17.1 for Disputes with respect to which emergency or injunctive relief is sought.

17.2     Arbitration. Any Dispute not resolved by the Parties pursuant to Section 17.1, shall be decided by mandatory and binding
         arbitration in accordance with the Construction Industry Mediation Rules of the American Arbitration Association (“AAA”)
         currently in effect unless the parties mutually agree otherwise. Demand for arbitration shall be filed in writing with the
         other Party to these Terms and with the AAA and shall be made within a reasonable time after the dispute has arisen.
         The award rendered by the arbitrator(s) shall be final, and judgment may be entered upon it in accordance with a
         Applicable Laws in any court having jurisdiction thereof. The seat of arbitration shall be New York, New York.

17.3     Survival. These arbitration provisions shall survive completion of the Work and conclusion of the Job.


                                                          ARTICLE 18
                                                  MISCELLANEOUS PROVISIONS

18.1     Governing Law. The Contract Documents shall be governed by the law of the State in which the Property is located.

18.2     Attorneys’ Fees. If either Party brings a legal proceeding to enforce or to obtain a declaration of its rights under these
         Terms, the prevailing Party in such legal proceeding shall be entitled to recover its reasonable attorneys’ fees and costs
         incurred in the proceeding from the non-prevailing Party.




                                                                -11-
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.437 Page 13 of 19


18.3   Assignment. Contractor may not assign (whether by operation of law or otherwise), subcontract or otherwise transfer
       any of its rights or obligations under these Terms without the prior written consent of Manager. Any such attempted
       assignment without such consent shall be null and void. Manager may assign its rights and obligations under these Terms.

18.4   Authority; Employment Matters. Manager and Contractor are not joint venturers, partners, or joint owners in any
       manner, and nothing in these Terms creates a partnership, joint venture, franchise or similar relationship. Neither Party
       is authorized or empowered to act as agent for the other for any purpose and shall not on behalf of the otherParty either
       enter into any contract, undertaking or agreement of any kind whatsoever. Contractor will not, and will have no power
       to, create any obligation, express or implied, on behalf of Manager. Except as otherwise expressly agreed in writing by
       Manager, Contractor will furnish all labor, Materials, insurance, supplies, training and/or other goods and services
       necessary for the performance of Contractor’s obligations under Contract Documents. Contractor agrees to pay all
       applicable taxes on the fees paid to it pursuant to these Terms. Contractor agrees that Contractor (including, without
       limitation, its employees and other personnel) will not be, and will not claim to be, eligible to participate in, or receive
       benefits under, any employee benefit plans, arrangements or policies of Customer including, but not limited to, any plan,
       arrangement or policy providing bonus, vacation, stock options, stock purchase, sick leave, disability, health or life
       insurance, 401(k), retirement, profit sharing or similar benefits for Manager’s or its Affiliates’ employees (collectively,
       “Benefit Plans”). If Contractor or any of its personnel is later determined to have been a common-law employee or
       employee of Manager for any purpose, Contractor and such personnel nevertheless will not be entitled to participate or
       receive benefits under any Benefit Plan. Contractor acknowledges that no insurance whatsoever, including worker’s
       compensation insurance, has been or will be obtained by Manager on Contractor’s behalf, and Contractor expressly
       covenants to satisfy all obligations with regard to wage payment, hours of work, employee leave, benefits, workers’
       compensation, insurance, taxes, and other employment-related obligations with respect to the employment of, and work
       performed by, its personnel under these Terms.

18.5   Headings; Interpretation. The headings of the sections of these Terms are for convenience only. Such headings do not
       purport to, nor shall be construed to, define, limit, or extend the scope of the sections to which they pertain. No usage
       of trade, course of performance or course of dealing purporting to modify, vary, explain or supplement the terms ofthese
       Terms shall be binding upon the parties unless made in writing and signed by the party against whom enforcement is
       sought. All exhibits and attachments are part of these Terms and incorporated herein by reference. All references to
       days under these Terms shall mean calendar days unless otherwise specified. The language used in these Terms shall be
       deemed to be the language chosen by the parties hereto to express their mutual intent, and no rule of strict construction
       shall be applied against any party. Unless the context of these Terms otherwise clearly requires: (i) references in these
       Terms to the plural include the singular, the singular the plural, the masculine the feminine, the feminine the masculine
       and the part the whole; and (ii) the word “or” shall not be construed as exclusive and the word “including,” “includes,”
       and “included” shall not be construed as limiting. The individuals signing below have the authority to bind their respective
       companies to the terms and conditions of these Terms without any further documentation or approvals. No modification,
       addition or deletion, or waiver of any rights under these Terms will be binding on a party unless in a writing signed by a
       duly authorized representative of each Party. No failure or delay (in whole or in part) on the part of a party to exercise
       any right or remedy hereunder will operate as a waiver thereof or affect any other right or remedy. All rights and remedies
       hereunder are cumulative and are not exclusive of any other rights or remedies provided hereunder or by Applicable
       Laws. The waiver of one breach or default or any delay in exercising any rights will not constitute a waiver of any
       subsequent breach or default.

18.6   Amendment; Severability. The Contract Documents may be modified, amended or supplemented only by a written
       instrument signed by the party against whom enforcement of the modification, amendment or supplement is sought.
       Whenever possible, each provision of the Contract Documents shall be interpreted in such manner as to be effective and
       valid under Applicable Law, but if any provision of the Contract Documents is held to be prohibited by or invalid under
       Applicable Law, such provision shall be ineffective only to the extent of such prohibition or invalidity, without invalidating
       the remainder of such provision or the remaining provisions of the Contract Documents.

18.7   No Waiver of Breach. Failure by either Party to insist upon the strict performance of any covenant, agreement, term or
       condition of these Terms, or to exercise any right or remedy due to breach, shall not constitute a waiver of any breach or
       any subsequent breach of such covenant, agreement, term or condition.

18.8   Use of Names. Contractor shall have no right to use the name “Invitation Homes” or the names of any of Manager’s
       Affiliates, or any of their corporate or trade names, trademarks, service marks, symbols, insignia, or other distinguishing

                                                              -12-
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.438 Page 14 of 19


        marks without the express prior written consent of Manager. Upon expiration or termination of these Terms for any
        reason whatsoever, all rights and consents, if any were granted, to the use of such names, marks, symbols and insignia
        shall terminate and Contractor shall not thereafter have any right to indicate that it is or was a vendor to Manager.

18.9    Counterparts. These Terms may be executed in any number of counterparts. Either Party to these Terms may execute
        any counterpart, each of which, when executed and delivered, is deemed to be an original, and all of which, taken
        together, are deemed to be one and the same document. These Terms may be executed and delivered by a facsimile or
        .PDF transmission or other comparable means.

18.10   Survival. Notwithstanding anything to the contrary in these Terms, the Parties agree that the provisions of Section 1.2,
        ARTICLE 7, ARTICLE 8, ARTICLE 9 and ARTICLE 12 through ARTICLE 18 (inclusive), shall survive expiration or earlier
        termination of these Terms, along with any other provisions of these Terms which by their nature are intended to survive.

                                                   [Signature Page Follows]




                                                             -13-
  Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.439 Page 15 of 19



IN WITNESS WHEREOF, these Terms have been accepted by Contractor as of the date set forth below.

[CONTRACTOR]

By:      Bassett Building
         _______________________________

      Rod Bassett
Name: _______________________________

Title:   VP
         _______________________________
         10/26/2021
Date:    _______________________________

         289 n fawnwood ln
Address: _______________________________

         Orange Ca 92869
         _______________________________




                                                           -14-
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.440 Page 16 of 19


                                                           EXHIBIT A

                                                  Vendor Code of Conduct


INTRODUCTION BUSINESS PRACTICES

INTRODUCTION
At Invitation Homes Inc. (“Invitation Homes” or the “Company”), we are committed to our mission statement, “Together with
you, we make a house a home.” How we carry out that mission on a daily basis is reflected in our Company’s core values:
Unshakable Integrity, Genuine Care, Continuous Excellence, and Standout Citizenship. All Invitation Homes associates, regardless
of location or position in the Company, have an obligation to follow the Company’s Code of Business Conduct and Ethics and act
with integrity and in full compliance with the laws and regulations that govern our business activities. Everyone who works at or
with Invitation Homes should feel confident about our high ethical standards, our honesty, and our integrity. This Vendor Code of
Conduct (the “Code”) is an extension of our values to Company vendors and serves to highlight our commitment to ethical
business practices and regulatory compliance.
Invitation Homes expects its vendors to share and embrace the letter and spirit of our commitment to integrity. A “vendor” is
any firm or individual that is engaged by Invitation Homes to provide a product or service to Invitation Homes or any of its
clients. Vendors include but are not limited to the following:
Rehab general contractors and subcontractors, suppliers of goods or services, real estate brokers and salespeople, consultants,
etc. While vendors are independent entities, their actions may significantly impact Invitation Homes’ reputation and brand.
Because of this, Invitation Homes expects all vendors and their employees, agents and subcontractors (their representatives)to
adhere to this Code of while conducting business with and/or on behalf of Invitation Homes. All vendors should educate their
representatives to ensure that they understand and comply with this Code.
No code can cover all policies or laws, so if you have questions about any of the information in this code, or what is expected of
you, please email vendordisclosure@invitationhomes.com.

BUSINESS PRACTICES
Vendors of Invitation Homes and their representatives shall conduct their business interactions and activities with integrity
and in accordance with their obligations under their specific agreements with the Company. In addition to those obligations,
all our vendors shall adhere to the business practices set forth in this code.

CONFLICT OF INTEREST

GIFT GIVING POLICY
Vendors are required to avoid actions that may result in conflicts of interest. Vendors shall use good judgment, discretion and
moderation when offering gifts or entertainment to employees of Invitation Homes. In doing so,the vendor and/or its
representatives will refrain from giving Company employees unduly lavish gifts or entertainment, airline tickets, cash, giftcards,
hotel accommodations, electronics, etc. or extending gratuities or special favors or gifts, under circumstances which might
reasonably be interpreted as an attempt to influence such employees in the performance of their duties for the Company (other
than the exchange of normal business courtesies such as reasonable and moderate meals that are consistent with regular
business practice, advertising or promotional materials and other small gifts, which are of nominal value (less than $200.00)). In
any event, no vendor may ever offer a bribe, kickback, bartering arrangement for goods and services, and/or any other incentive
to a Company employee to obtain or retain Invitation Homes’ business. This includes improving, upgrading, or investing time or
materials in a Company-owned home in which an Invitation Homes’ employee is a tenant, without following InvitationHomes’
approval procedures.

APPEARANCE OF IMPROPRIETY
Vendors shall avoid the appearance of or actual conflicts of interests. When a vendor or vendor representative has a
relationship with a Company employee, or a Company employee’s spouse, domestic partner, or other family member or
relative, the vendor must disclose the relationship and obtain Company approval prior to contract negotiations. If the vendor
becomes aware of a conflict after the commencement of services, the vendor must immediately inform a disinterested member
of Company management. In addition, vendors and their representatives shall not deal directly or indirectly with any Invitation
Homes employee who holds, or whose spouse, domestic partner or other family member or relative holds a significant financial


                                                               15
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.441 Page 17 of 19

interest in the vendor. Interacting with such an employee, or spouse, domestic partner or other family member or relative of
such an employee, in the course of negotiating or performing the vendor agreement, is also prohibited.


DISCLOSURE OF CONFLICT
Vendors are required to immediately disclose any positions or actions of actual or potential conflicts of interest to
vendordisclosure@invitationhomes.com. This includes disclosure of any relationships described above, material financial
interest they or members of their family have in (as an owner/shareholder, partner, investor, employee, or consultant), or an     y
affiliation with (as an officer, director, oremployee of) any business, organization, or entity which is a competitor of Invitatio
                                                                                                                                 n
Homes, or which has or proposes to have a business relationship with the Company, even if the vendor believes all
appropriate actions have been taken to avoid or safeguard against a conflict of interest.


BUSINESS CONDUCT AND ETHICS

CONFIDENTIAL INFORMATION, SECURITY AND PRIVACY
Confidential information means all non-public data of Invitation Homes, including: business plans, marketing plans, team
member personal information, resident personal information and intellectual property. Vendors may not outsource, disclose,
share or use this information outside the requirements defined in their contractual or nondisclosure agreement with Invitation
Homes.
Unauthorized disclosures could harm Invitation Homes, breach the vendor contract or even be illegal. Vendors shall provide their
services in compliance with the highest applicable professional standards governing their contractual obligations, including
requirements established by any organizations that regulate their activities. Vendors shall comply with all Invitation Homes’
requirements for maintenance of passwords, confidentiality, security and privacy procedures as a condition of receiving access to
the Invitation Homes internal corporate network, all systems and all buildings. All data stored or transmitted on Company-owned
or -leased equipment is to be considered private and is the property of Invitation Homes. Invitation Homes may monitor all uses
of its corporate networks and all systems (including email and other social media platforms) and/ or access all data stored or
transmitted using the Company network. To avoid compromising any potential confidentiality, a Vendor may speak to the press
on Invitation Homes’ behalf only if the Vendor and/or representative is expressly authorized in writing to do so by one of the
Company communications professionals.

PROTECTION OF ASSETS
Vendors shall protect and responsibly use both the physical and intellectual assets of Invitation Homes, including its property,
supplies and equipment, when authorized by the Company to use such assets. Vendors shall use information technology and
systems provided by Invitation Homes (including email and any social media platforms) only for authorized Company business-
related purposes. Invitation Homes strictly prohibits vendors and their representatives from using Company-provided technology
and systems to create, access, store, print, solicit, or send any material that is intimidating, harassing, threatening, abusive,
sexually explicit or otherwise offensive or inappropriate and/or send any false, derogatory or malicious communications using
Company-provided information, assets and systems. Vendors shall comply with the intellectual property ownership rights of
Invitation Homes and others, including but not limited to copyrights, patents, trademarks and trade secrets. Vendors shall use
software, hardware and content only in accordance with their associated license or terms of use.

BUSINESS CONDUCT AND ETHICS

BUSINESS INTEGRITY; COMPLIANCE WITH ANTI-CORRUPTION LAWS
Corruption, extortion, and embezzlement, in any form, are strictly prohibited. Vendors must not violate the Foreign Corrupt
Practices Act (FCPA), any international anti-corruption conventions, or applicable anti-corruption laws or regulations of the
countries in which they operate, and shall not engage in corruption, extortion, or embezzlement in any form. Vendors should not
offer or accept bribes or other means to obtain an undue or improper advantage. Vendors must uphold fair business standards in
advertising, sales, and competition.

WHISTLEBLOWER PROTECTION AND ANONYMOUS COMPLAINTS
Vendors must create programs to ensure the protection of vendor and worker whistleblower confidentiality and prohibit
retaliation against workers who participate in such programs in good faith or refuse an order that is in violation of the Invitation
Homes Vendor Code of Conduct. Vendors will provide an anonymous complaint mechanism for workers to report workplace
grievances in accordance with local laws and regulations.
                                                                  16
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.442 Page 18 of 19

COMMUNITY ENGAGEMENT
Vendors are encouraged to engage the community to help foster social and economic development and to contribute to the
sustainability of the communities in which they operate.


ENVIRONMENT, HEALTH AND SAFETY

OCCUPATIONAL INJURY PREVENTION
Vendors must eliminate physical hazards when possible. Vendors must provide workers with a safe and healthy work
environment. They should take proactive measures that support accident prevention and minimize health risk exposure.
Workers shall not be disciplined for raising safety concerns and shall have the right to refuse unsafe working conditions without
fear of reprisal until management adequately addresses their concerns.

EMERGENCY PREVENTION, PREPAREDNESS AND RESPONSE
Vendors must anticipate, identify, and assess emergency situations and events and minimize their impact by implementing
emergency plans and response procedures, including emergency reporting, worker notification and evacuation procedures,
worker training and drills, appropriate first-aid supplies, appropriate fire detection and suppression equipment, adequate exit
facilities, and recovery plans.

HAZARDOUS SUBSTANCES AND RESTRICTIONS
Vendors must comply with any applicable laws and regulations prohibiting or restricting the use or handling of specific
substances. To ensure safe handling and disposal, vendors should identify and manage substances that pose a hazard if released
to the environment and comply with applicable labeling laws and regulations for recycling and disposal.

SOLID WASTE MANAGEMENT
Vendors must manage and dispose of non-hazardous solid waste generated from their operations as required by applicable laws
and regulations.

POLLUTION PREVENTION AND RESOURCE REDUCTION
Vendors must endeavor to reduce or eliminate solid waste, wastewater and air emissions, including energy-related indirect air
emissions, by implementing appropriate conservation measures in their production, maintenance, and facilities processes, and
by recycling, reusing or substituting materials.

LABOR AND HUMAN RIGHTS

ANTIDISCRIMINATION
Vendors must not discriminate against any worker based on race, color, religion, creed, gender, pregnancy or related medical
conditions, age (as defined by federal and state law), national origin or ancestry, physical or mental disability, genetic
information or any other protected characteristic and/or classification protected by local, state or federal laws, in hiringand
employment practices such as applications for employment, promotions, rewards, access to training, job assignments, wages,
benefits, discipline and termination.

HARASSMENT
Vendors must treat all workers with respect and dignity. Vendors must follow policies prohibiting harassmentagainst any
employee based on race, age, color, religion, gender, national origin, ancestry, mental or physical disability, medical condition,
U.S. veteran status, marital status, sexual orientation or any other basis protected by federal, state or locallaw or ordinance.
They may not subject workers to corporal punishment, physical, sexual, psychological or verbal harassment or abuse. In addition,
vendors must provide an environment that allows employees to raise concerns without fear of retaliation. Where it is allowed by
law, vendors should have a system that allows employees to anonymously report their concerns.

HIRING AND EMPLOYMENT PRACTICES
Vendors’ hiring practices must include verification of workers’ legal rights to work in the country and ensurethat all mandatory
documents, such as work permits, are available. Invitation Homes’ vendors are expected to support diversity and equal
opportunity in their workplaces.



                                                                17
 Case 3:22-cv-00260-BAS-MMP Document 21-10 Filed 03/07/23 PageID.443 Page 19 of 19

NO FORCED LABOR OR HUMAN TRAFFICKING
We condemn forced labor and human trafficking and will not knowingly work with vendors who engage in these practices. All
workers have the right to engage in work willfully, without surrendering identification and without the payment of fees. Work
                                                                                                                           ers
have the right to freedom of movement and our vendors must ensure it is afforded to them. Suppliers must also procure their raw
materials and/or components solely from sources that do not utilize forced labor or engage in human trafficking.

NO UNDERAGE LABOR
We do not tolerate the use of underage labor and will not knowingly work with vendors that utilize underage workers. Vendors
must comply with all age-related working restrictions as set by local law and adhere to international standards as defined by the
International Labor Organization (ILO) regarding age appropriate work.

WAGES
Vendors must provide wages and benefits that meet or exceed local law requirements and are paid/provided in a timely manner.
We encourage suppliers to commit to the betterment of wages and benefits to improve the lives ofworkers and their families in
the communities where they live

FINANCIAL RESPONSIBILITY

DOCUMENTATION AND RECORDS
The Company’s financial information and statements are prepared in compliance with generally accepted accounting principles
and statutory accounting practices and procedures for regulatory purposes. As a financially responsible organization, we are
committed to ensuring that all internal and external financial records are maintained by using effective internal controls,
including procedures to protect the Company’s assets. It is our expectation that our vendor partners will exercise a similar
commitment to financial responsibility, including but not limited to:
     � Honestly and accurately recording and reporting all business information and complying with all applicable
          laws regarding their permitting, completion and accuracy; and,
     � Creating, retaining and disposing of business records in full compliance with all applicable legal and regulatory
         requirements.


ACKNOWLEDGMENT STATEMENT

I understand that Invitation Homes expects all vendors and vendor employees, agents and subcontractors (their
representatives) to adhere to the Company’s Vendor Code of Conduct while they are conducting business with and/or on
behalf of Invitation Homes.

Vendor Code of Conduct while they are conducting business with and/or on behalf of Invitation Homes.

       VP
As the__________________                  Bassett Building(company name), I _________________(name)
                              (title) of __________________                      Rod Bassett                 fully understand and
agree that I will abide by the policies referenced. I am aware that failure to comply with thepolicies outlined in the Vendor Code
of Conduct may result in the Company’s termination of the business relationship with the vendor.


ACKNOWLEDGMENT AND SIGNATURE

      Rod Bassett
NAME: __________________________

SIGNATURE:_____________________

       VP
TITLE: __________________________
         Bassett Building
COMPANY: _____________________
       10/26/2021
DATE: _________________________


                                                                18
